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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 1:16-cv-24431-CMA-Altonaga/McAliley


   GOLTV, INC., and GLOBAL SPORTS
   PARTNERS LLP,

                                      Plaintiffs,

                           -v.-

   FOX SPORTS LATIN AMERICA, LTD., PAN
   AMERICAN SPORTS ENTERPRISES
   COMPANY, d/b/a FOX SPORTS LATIN
   AMERICA (individually and as successor to FOX
   PAN AMERICAN SPORTS LLC), FOX
   INTERNATIONAL CHANNELS (US), INC.,
   FOX NETWORKS GROUP, INC. (as successor to
   FOX INTERNATIONAL CHANNELS (US),
   INC.), CARLOS MARTINEZ, HERNAN LOPEZ,
   JAMES GANLEY, T&T SPORTS MARKETING
   LTD., TORNEOS Y COMPETENCIAS, S.A.,
   ALEJANDRO BURZACO, EUGENIO
   FIGUEREDO, and JUAN ANGEL NAPOUT,

                                      Defendants.


                                    JOINT STATUS REPORT

         Pursuant to the Court’s Order of August 2, 2018 [ECF 451], the parties submit this report

  advising the Court of the status of the interlocutory appeal and the government’s related criminal

  investigation.

         On August 16, 2018, the United States Court of Appeals for the Eleventh Circuit denied

  Defendants’ petition for permission to appeal from the district court’s January 26, 2018 order

  under 28 U.S.C. § 1292(b). See [ECF 456] at 7.




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         The government has advised the parties of the following: “Our investigation remains

  ongoing, and the concerns EDNY raised in connection with discovery disputes pending at the

  time the stay was implemented have not been alleviated.”



                                                     Respectfully submitted,



  Dated: October 2, 2018                             /s/ Jay B. Shapiro
                                                     Jay B. Shapiro
                                                     Florida Bar No. 776361
                                                     Morgan McDonough
                                                     Florida Bar No. 106104
                                                     Stearns Weaver Miller Weissler Alhadeff &
                                                     Sitterson, P.A.
                                                     150 West Flagler Street, Suite 2200
                                                     Miami, Florida 33130-1545
                                                     Tel.: (305) 789-3200
                                                     Fax: (305) 789-3395
                                                     jshapiro@stearnsweaver.com
                                                     mmcdonough@stearnsweaver.com

                                                     /s/ Tobin J. Romero
                                                     Tobin J. Romero
                                                     Jonathan B. Pitt
                                                     Craig D. Singer
                                                     William J. Vigen
                                                     Carol Joan Pruski
                                                     Christopher T. Berg
                                                     Thomas W. Ryan
                                                     Cristina C. Stam
                                                     Williams & Connolly LLP
                                                     725 Twelfth Street, NW
                                                     Washington, DC 20005
                                                     Tel.: (202) 434-5000
                                                     Fax: (202) 434-5029
                                                     tromero@wc.com
                                                     jpitt@wc.com
                                                     csinger@wc.com
                                                     wvigen@wc.com
                                                     cpruski@wc.com
                                                     cberg@wc.com

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                                            tryan@wc.com
                                            cstam@wc.com

                                            Attorneys for Fox Sports Latin America,
                                            Ltd., Pan American Sports Enterprises
                                            Company, Fox International Channels (US),
                                            Inc., and Fox Networks Group, Inc.


                                            /s/ James E. Sharp
                                            James E. Sharp
                                            SHARP & ASSOCIATES, PLLC
                                            1215 19th Street, N.W.
                                            Washington, DC 20005
                                            Tel.: 202-467-4114
                                            Fax: 202-467-1625
                                            jsharp@sharp-assoc.com

                                            /s/ Ramon A. Abadin
                                            Ramon A. Abadin
                                            RAMON A. ABADIN, P.A.
                                            2333 Ponce De Leon Blvd.
                                            BAC Colonnade - Suite 314
                                            Coral Gables, FL 33134-5418
                                            Tel.: 305-321-4496
                                            Fax: 786-217-0133
                                            rabadin@abadinlaw.com

                                            Steven J. McCool
                                            Steven J. McCool
                                            Julia M. Coleman
                                            MALLON & MCCOOL, LLC
                                            1776 K Street, NW, Suite 200
                                            Washington, DC 20006
                                            Tel.: 202-393-7088
                                            Fax: 202-293-3499
                                            jcoleman@mallonandmccool.com
                                            smccool@mallonandmccool.com

                                            Attorneys for Defendant Carlos Martinez


                                            /s/ Benedict P. Kuehne
                                            Benedict P. Kuehne
                                            Michael T. Davis
                                            KUEHNE DAVIS LAW, P.A.

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                                            Miami Tower, Suite 3550
                                            100 SE 2nd Street
                                            Miami, FL 33131-2154
                                            Tel.: 786-369-0213
                                            Fax: 305-789-5987
                                            ben.kuehne@kuehnelaw.com
                                            mdavis@kuehnelaw.com

                                            Attorneys for Defendant James Ganley


                                            /s/ Stephanie Anne Casey
                                            Roberto Martinez
                                            Stephanie Anne Casey
                                            Lindsey Lazopoulos Friedman
                                            COLSON HICKS EIDSON
                                            255 Alhambra Circle
                                            Penthouse
                                            Coral Gables, FL 33134-2351
                                            Tel.: (305) 476-7400
                                            Fax: (305) 476-7444
                                            bob@colson.com
                                            scasey@colson.com
                                            lindsey@colson.com

                                            Attorneys for Defendant T&T Sports
                                            Marketing Ltd.


                                            /s/ Jorge Pérez Santiago
                                            Ryan K. Stumphauzer
                                            Jorge Pérez Santiago
                                            STUMPHAUZER & SLOMAN, PLLC
                                            One SE Third Avenue, Suite 1820
                                            Miami, FL 33131
                                            Tel.: (305) 371-9686
                                            Fax: (305) 371-9687
                                            rstumphauzer@sslawyers.com
                                            jperezsantiago@sslawyers.com

                                            /s/ Jennifer E. LaGrange
                                            Jennifer E. LaGrange
                                            Matthew Donald Umhofer
                                            Samuel Josephs
                                            Payton J. Lyon
                                            SPERTUS, LANDES & UMHOFER, LLP

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                                            1990 South Bundy Drive, Suite 705
                                            Los Angeles, CA 90025
                                            Tel.: (310) 826-4700
                                            Fax: (310) 826-4711
                                            jennifer@spertuslaw.com
                                            matthew@spertuslaw.com
                                            sam@spertuslaw.com
                                            payton@spertuslaw.com

                                            Attorneys for Defendant Hernan Lopez


                                            /s/ Aviva L. Wernick
                                            Nicolas Swerdloff
                                            Aviva L. Wernick
                                            Jeffrey B Goldberg
                                            Marc A. Weinstein
                                            HUGHES HUBBARD & REED
                                            201 S Biscayne Boulevard
                                            Suite 2500
                                            Miami, FL 33131-4332
                                            Tel.: 305-358-1666
                                            Fax: 305-371-8759
                                            nicolas.swerdloff@hugheshubbard.com
                                            aviva.wernick@hugheshubbard.com
                                            jeffrey.goldberg@hugheshubbard.com
                                            marc.weinstein@hugheshubbard.com

                                            Attorneys for Defendant Juan Angel Napout


                                            /s/ Adam Louis Schwartz
                                            Adam Louis Schwartz
                                            Rayda Aleman
                                            HOMER BONNER JACOBS
                                            1200 Four Seasons Tower
                                            1441 Brickell Avenue
                                            Miami, FL 33131
                                            Tel.: (305) 350-5100
                                            Fax: (305) 372-2738
                                            aschwartz@homerbonner.com
                                            raleman@homerbonner.com

                                            Attorneys for Defendant Alejandro Burzaco




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                                            /s/ Adam Michael Schachter
                                            Adam Michael Schachter
                                            Gerald Edward Greenberg
                                            Freddy Funes
                                            GELBER SCHACHTER & GREENBERG,
                                            P.A.
                                            1221 Brickell Avenue, Suite 2010
                                            Miami, FL 33131
                                            Tel.: 305-728-0950
                                            Fax: 305-728-0951
                                            ggreenberg@gsgpa.com
                                            aschachter@gsgpa.com
                                            ffunes@gsgpa.com

                                            /s/ H. Rowan Gaither IV
                                            H. Rowan Gaither IV
                                            David Massey
                                            Maria Lapetina
                                            T. Jakob Sebrow
                                            Andrew Podolin
                                            RICHARDS KIBBE & ORBE, LLP
                                            200 Liberty Street
                                            New York, NY 10281
                                            Tel.: 212-530-1800
                                            Fax: 212-530-1801
                                            rgaither@rkollp.com
                                            dmassey@rkollp.com
                                            mlapetina@rkollp.com
                                            jsebrow@rkollp.com
                                            apodolin@rkollp.com

                                            /s/ Alan E. Schoenfeld
                                            Alan E. Schoenfeld
                                            Erin G.H. Sloane
                                            Matthew Galeotti
                                            Wilmer Hale, LLP
                                            7 World Trade Center
                                            250 Greenwich Street
                                            New York, New York 10007
                                            Tel.: 212-230-8800
                                            Alan.Schoenfeld@wilmerhale.com
                                            Erin.Sloane@wilmerhale.com
                                            Matthew.Galeotti@wilmerhale.com

                                            Attorneys for Defendant Torneos y
                                            Competencias, S.A.

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                                            Peter H. Levitt
                                            Stephen B. Gillman
                                            SHUTTS & BOWEN LLP
                                            200 South Biscayne Boulevard
                                            Suite 4100
                                            Miami, FL 33131
                                            Tel.: (305) 358-6300
                                            Fax: (305) 381-9982
                                            plevitt@shutts.com
                                            sgillman@shutts.com

                                            Seth C. Farber
                                            Julissa Reynoso
                                            George Mastoris
                                            Marcelo Blackburn
                                            Cristina I. Calvar
                                            Michael A. Fernández
                                            Lauren Duxstad
                                            Ariel Flint
                                            WINSTON & STRAWN LLP
                                            200 Park Avenue
                                            New York, NY 10166-4193
                                            Tel.: (212) 294-6700
                                            Fax: (212) 294-4700
                                            sfarber@winston.com
                                            jreynoso@winston.com
                                            gmastoris@winston.com
                                            mblackburn@winston.com
                                            ccalvar@winston.com
                                            mafernandez@winston.com
                                            lduxstad@winston.com
                                            aflint@winston.com

                                            Attorneys for Plaintiffs GolTV, Inc.
                                            and Global Sports Partners LLP




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on October 2, 2018, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this day on all counsel of record via transmission of Notices of Electronic Filing

  generated by CM/ECF.

                                                               /s/ Jay B. Shapiro
                                                               Jay B. Shapiro




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